     Case 1:14-cr-20427-TLL-PTM ECF No. 78, PageID.412 Filed 10/08/14 Page 1 of 3


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                          CASE NO: 14-20427-02

v.                                         DISTRICT JUDGE THOMAS L. LUDINGTON
                                           MAGISTRATE JUDGE PATRICIA T. MORRIS
KWAME AMIN MATHEWS,

       Defendant.
                                           /


                  MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       This case was referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §§

636(b)(1)(B) and 636(b)(3) for purposes of receiving, on consent of the parties, Defendant’s offer

of a plea of guilty. Defendant and his counsel appeared before me on October 8, 2014, and pled

guilty to Count 8 of the Indictment. Under the plea agreement, Counts 19, 20, 21, 22, and 23 will

be dismissed. In open court, I examined Defendant under oath, confirmed Defendant’s consent,

and then advised and questioned Defendant regarding each of the inquiries prescribed by Rule

11(b) of the Federal Rules of Criminal Procedure.

       Based upon Defendant’s answers and demeanor, I HEREBY FIND: (1) that Defendant

is competent to tender a plea; (2) that Defendant’s plea was knowingly, intelligently made; and (3)

that the offense to which Defendant pleaded guilty is supported by an independent basis in fact

containing each of the essential elements of the offense. Therefore, I have ordered the preparation

of a presentence investigation report.
       Case 1:14-cr-20427-TLL-PTM ECF No. 78, PageID.413 Filed 10/08/14 Page 2 of 3




II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that, subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the Federal Rules of Criminal

Procedure, Defendant’s plea to Count 8 of the Indictment be accepted, Defendant be adjudged

guilty and the Court impose sentence.



III.     REVIEW

         Rule 72(b)(2) of the Federal Rules of Civil Procedure states that “[w]ithin 14 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations. A party may respond to another

party’s objections within 14 days after being served with a copy.” Fed. R. Civ. P. 72(b)(2). See

also 28 U.S.C. § 636(b)(1). Failure to file specific objections constitutes a waiver of any further

right of appeal. Thomas v. Arn, 474 U.S. 140, 155; Howard v. Sec’y of Health & Human Servs.,

932 F.2d 505, 508 (6th Cir. 1991); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981). The

parties are advised that making some objections, but failing to raise others, will not preserve all

the objections a party may have to this Report and Recommendation. Willis v. Sec’y of Health &

Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n of Teachers Local 231,

829 F.2d 1370, 1373 (6th Cir. 1987). According to E.D. Mich. LR 72.1(d)(2), a copy of any

objections is to be served upon this magistrate judge.

         Any objections must be labeled as “Objection No. 1,” “Objection No. 2,” etc. Any objection

must recite precisely the provision of this Report and Recommendation to which it pertains. Not

later than 14 days after service of an objection, the opposing party may file a concise response

                                                 2
   Case 1:14-cr-20427-TLL-PTM ECF No. 78, PageID.414 Filed 10/08/14 Page 3 of 3


proportionate to the objections in length and complexity. Fed. R. Civ. P. 72(b)(2); E.D. Mich. LR

72.1(d). The response must specifically address each issue raised in the objections, in the same

order, and labeled as “Response to Objection No. 1,” “Response to Objection No. 2,” etc. If the

Court determines that any objections are without merit, it may rule without awaiting the response.

Date: October 8, 2014                     /S PATRICIA T. MORRIS
                                          Patricia T. Morris
                                          United States Magistrate Judge




                                       CERTIFICATION

      I hereby certify that this Report and Recommendation was electronically filed this
date, electronically served on counsel of record, and served on U.S. District Judge
Thomas Ludington in the traditional manner.

Date: October 8, 2014              By     s/Jean L. Broucek
                                   Case Manager to Magistrate Judge Morris




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